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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION




ARTHUR GREENSTEIN,                            )
                                              )
              Plaintiff,                      )
                                              )              CIVIL ACTION NO.
VS.                                           )
                                              )              3:15-CV-0699-G
THE TRAVELERS HOME AND                        )
MARINE INSURANCE COMPANY,                     )
                                              )
              Defendant.                      )




                    ORDER ESTABLISHING SCHEDULE AND
                     CERTAIN PRETRIAL REQUIREMENTS


       The court, having considered the status report submitted by the parties, finds

that the following order should be entered, pursuant to Rule 16(b), FED. R. CIV. P.,

and the local rules of this court (except as modified herein), to schedule this case for

disposition and, if disposition by a trial is needed, to expedite the trial.

       Unless otherwise ordered or specified herein, all limitations and requirements

of the Federal Rules of Civil Procedure, as amended, must be observed.

       1.     Pursuant to Local Rule 16.3(a), the parties to this case shall enter

settlement negotiations as early as possible. If the parties do not report by
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October 1, 2015 that this case has been settled, it will be ordered to mandatory but

non-binding mediation. See Rules 1, 16, FED. R. CIV. P.; 28 U.S.C. § 473(a)(6),

(b)(4); Civil Justice Expense and Delay Reduction Plan of the Northern District of

Texas ¶ III (1993); Texas Civil Practice and Remedies Code §§ 154.001 et seq.

(Vernon Supp. 1997).

         2.   This case is set for trial on this court’s four-week docket beginning

May 2, 2016. Counsel and the parties shall be ready for trial on two (2) days notice

at any time during this four-week period. Any potential conflicts must be called to

the attention of the court in writing within ten (10) days from the date of this

order.

         3.   a. By June 25, 2015, all motions requesting joinder of additional

parties or amendments of pleadings shall be filed. Rule 16(b)(1), F.R. CIV. P.

              b. By December 24, 2015, all motions that would dispose of all or any

part of this case (including motions for summary judgment), shall be filed.

(Modification of Local Rule 56.1).

              c. Responses to motions must be filed within twenty-one (21) days

(Local Rule 7.1(e)).

              d. The deadlines in this paragraph 3 may be extended only by formal

motion to the court. Any extension requested shall not affect the trial or

pretrial dates.



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       4.     Unless otherwise stipulated or directed by order, the plaintiff shall file a

written designation of the name and address of each expert witness who will testify

at trial and shall otherwise comply with Rule 26(a)(2), FED. R. CIV. P. (“Rule

26(a)(2)”), on or before December 4, 2015.

              Each defendant or third party shall file a written designation of the

name and address of each expert witness who will testify at trial for that party and

shall otherwise comply with Rule 26(a)(2) on or before December 18, 2015.

              If the evidence is intended solely to contradict or rebut evidence on the

same subject matter identified by another party under Rule 26(a)(2)(B), the

disclosures required under Rule 26(a)(2) shall be made within 30 days after the

disclosure made by the other party.

       5.     Unless otherwise directed by order, the parties must make the

disclosures required by Rule 26(a)(3)(A)-(B), FED. R. CIV. P., by March 4, 2016.

              Within 14 days thereafter, a party must serve and file a list disclosing

(i) any objections to the use under Rule 32(a) of a deposition designated by another

party under Rule 26(a)(3)(A)(ii) and (ii) any objection, together with the grounds

therefor, that may be made to the admissibility of materials identified under Rule

26(a)(3)(A)(iii), if any.

       6.     By February 29, 2016, all discovery -- including discovery concerning

expert witnesses -- shall be completed. The parties may agree to extend this discovery



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deadline, provided (1) the extension does not affect the trial or pretrial date and

(2) written notice of the extension is given to the court.

       7.    By April 22, 2016, all pretrial material shall be filed. Specifically, by

this date:

                    a. A proposed joint pretrial order that covers
             each of the matters listed in Local Rule 16.4 and states the
             estimated length of trial and whether the case is jury or
             non-jury shall be submitted by the plaintiff’s attorney to
             Fish_Orders@txnd.uscourts.gov. (The proposed joint
             pretrial order should not be filed on the docket sheet.) If
             an attorney for either party does not participate in the
             preparation of the joint pretrial order, the opposing
             attorney shall submit a separate pretrial order with an
             explanation of why the joint order was not submitted (so
             that the court can impose sanctions, if appropriate).
             However, failure to agree upon content or language is not
             an excuse for submitting separate pretrial orders --
             since each party may present its version of any disputed
             matter in the joint pretrial order (Modification of Local
             Rule 16.4). When the joint pretrial order is approved by
             the court, it will filed and will control all subsequent
             proceedings in this case.

                   b. A list of witnesses shall be filed by each party --
             which divides the persons listed into groups of “probable
             witnesses,” “possible witnesses,” “experts” and “record
             custodians” which provides:

                    (i)   the name and address of each
                    witness; and

                    (ii)  a brief narrative summary of the
                    testimony to be covered by each witness.

             (Modification of Local Rule 26.2(b) and FED. R. CIV. P.
             26(a)(3)(A)).

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        Pursuant to Rule 16(c)(15), FED. R. CIV. P., and Section
        VII of the United States District Court for the Northern
        District of Texas Civil Justice Expense and Delay
        Reduction Plan, the court intends to impose a reasonable
        limit on the time allowed for presenting evidence in this
        case. Accordingly, the parties must also state the expected
        duration of direct and cross-examination of each
        witness. See Commentary - 1993 Amendment to the
        Federal Rules of Civil Procedure (court should ordinarily
        impose time limits only after receiving appropriate
        submissions from the parties).

               c. A list of exhibits and a designation of portions
        of depositions to be offered at trial shall be filed by each
        party. The list of exhibits shall describe the documents or
        things in numbered sequence. The documents or things to
        be offered as exhibits shall be numbered by attachment of
        gummed labels to correspond with the sequence on the
        exhibit list. In addition, counsel for each party intending
        to offer exhibits shall exchange a complete set of marked
        exhibits with opposing counsel; and shall deliver, on the
        day the case is called for trial, a set of marked exhibits to
        the court’s chambers (except large or voluminous items
        that cannot be easily reproduced). (Modification of Local
        Rule 26.2(b), (c) and FED. R. CIV. P. 26(a)(3)(B)).

               d. Additional copies of the list of witnesses and
        the list of exhibits (as required by Local Rule 26.2(b))
        shall be delivered by each party, on the day the case is
        called for trial, to the court reporter.




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                    e. Requested jury instructions (annotated)1 shall
             be filed by each party (Modification of Local Rule 51.1).

                     f. Proposed findings of fact and conclusions of
             law (annotated)2 in a non-jury case shall be filed by each
             party having the burden of persuasion on an issue. Within
             5 days thereafter, any opposing party shall serve his
             proposed findings and conclusions (annotated)3 on
             that issue, numbered in paragraphs corresponding to those
             earlier filed, in which the earlier version shall either be
             admitted or the responding party’s version given, if it
             differs from that served earlier (Modification of Local Rule
             52.1).

                    g. Motions in limine, if any, shall be filed by each
             party -- these will not be considered unless they are limited
             to matters actually in dispute, after conference with
             opposing counsel, as required by Local Rule 7.1(a) -- and
             any proposed voir dire questions which the court is
             requested to ask during its examination of the jury panel.

                    h. Trial briefs, if any, shall be filed by each party.
             In the absence of a specific order of the court, trial briefs
             are not required, but are welcomed. They should
             concentrate on Fifth Circuit and Supreme Court authority
             on the issues the parties anticipate will arise at trial.




   1
       “Annotated ” means that each proposed instruction or conclusion of law shall
be accompanied by citation to statutory or case authority (and/or pattern
instructions). It is not sufficient to submit a proposed instruction or conclusion of
law without citation to supporting authority. Because Fifth Circuit and Supreme
Court cases are the only precedent binding on this court, the parties should -- to the
extent possible -- rely on these sources (and/or Fifth Circuit pattern instructions in
proposing jury instructions).
   2
       See footnote 1.
   3
       See footnote 1.

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      NOTE:         Deadlines in this order are dates for the filing
                    or delivery of pretrial material, not mailing
                    dates.

      8.     The exhibit list contemplated by paragraph 7(c) shall be accompanied,

when it is filed, by a written statement, signed by counsel for each party (other than

the party who will be offering an exhibit) that, as to each exhibit shown on the list,

                    (a) the parties agree to the admissibility of the
             exhibit, or

                    (b) the admissibility of the exhibit is objected to,
             identifying the nature and legal basis of any objection to
             admissibility and the name(s) of the party or parties urging
             the objection.

All parties shall cooperate in causing such statements to be prepared in a timely

manner for filing with the exhibit lists. Counsel for the party proposing to offer an

exhibit shall be responsible for coordinating activities related to preparation of such a

statement as to the exhibit he proposes to offer. The court may exclude any exhibit

offered at trial unless such a statement regarding the exhibit has been filed in a timely

manner.

      9.     (a) At least ten (10) days before the pretrial conference, the parties

and their respective lead counsel shall hold a face-to-face meeting to discuss

settlement of this case. Individual parties and their counsel shall participate in

person, not by telephone or other remote means. All other parties shall participate by

a representative or representatives, in addition to counsel, who shall have unlimited



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settlement authority and who shall participate in person, not by telephone or other

remote means. If a party has liability insurance coverage as to any claim made

against that party in this case, a representative of each insurance company providing

such coverage, who shall have full authority to offer policy limits in settlement, shall

be present at, and participate in, the meeting in person, not by telephone or other

remote means. At this meeting, the parties shall comply with the requirements of

Local Rule 16.3.

             (b) Within seven (7) days after such meeting, the parties shall jointly

prepare and file a written report, which shall be signed by counsel for each party,

detailing the date on which the meeting was held, the persons present (including the

capacity of any representative), a statement regarding whether meaningful progress

toward settlement was made, and a statement regarding the prospects of settlement.

      10.    A pretrial conference in the case is set for Friday, April 29, 2016 at

10:00 a.m. Each party shall be represented by at least one attorney who will conduct

the trial and who has authority to enter into stipulations and admissions that would

facilitate the admission of evidence and reduce the time and expenses of trial. FED. R.

CIV. P. 16(d). All pretrial motions not previously decided will be resolved at that

time, and procedures for trial will be discussed. At the final pretrial conference, it

should be possible to assign the specific date for trial during the four-week docket.

Telephone calls about the probable trial date prior to the final pretrial



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conference will usually do nothing more than waste the time of counsel and

the court staff.

      11.    This order shall control the disposition of this case unless it is modified

by the court upon a showing of good cause and by leave of court. FED. R. CIV. P.

16(b). Any request that the trial date of this case be modified must be made (i) in

writing to the court, (ii) before the deadline for completion of discovery and (iii) in

accordance with the United States District Court for the Northern District of

Texas Civil Justice Expense and Delay Reduction Plan ¶ V and Local Rule 40.1

(motions for continuance must be signed by the party as well as by the attorney of

record).

      12.    Should any party or counsel fail to cooperate in doing anything required

by this order, such party or counsel or both may be subject to sanctions, including

dismissal or entry of default without further notice. See FED. R. CIV. P. 16(f).

      13.    Counsel should be mindful that a last-minute trial cancellation

inconveniences all the citizens who have come to serve as jurors and wastes taxpayer

money. To avoid such a cancellation, counsel should complete settlement

negotiations at least one day prior to the date scheduled for trial and should notify

the court immediately if a settlement is reached.

      14.    Questions relating to this scheduling order or any other matters shall be

directed to Ms. Eleanore Piwoni (214.753.2310).



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     SO ORDERED.


March 25, 2015.


                                  ___________________________________
                                  A. JOE FISH
                                  Senior United States District Judge




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